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                 Subject: Re: [Status] Device CA Expiry - 11/4/13
                   From: Lionel Gentil <lgentil@apple.com>
            Received(Date): Wed, 16 Apr 2014 18:51:27 -0700
                      Cc: Jacques Vidrine <nectar@apple.com>, Louis Chabardes
                            <lac@apple.com>,Amol Pattekar <pattekar@apple.com>, Gokul Thirumalai
                            <gthirumalai@apple.com>,"Andrew R. Whalley" <arw@apple.com>, Erik
                            Neuenschwander <erikn@apple.com>,Alex Nedich <anedich@apple.com>,
                            george <george_lin@apple.com>,Dave Rahardja <rahardja@apple.com>,
                            Sam Summerlin <sam@apple.com>,Sabita Bavadekar
                            <bavadekar@apple.com>, Aadil Maan <aadil_maan@apple.com>,Katherine
                            Kojima <kkojima@apple.com>, Bodhi Gerfen <bodhi@apple.com>,Peter
                            Rosenblum <rosenblum@apple.com>, Tim Altman
                            <taltman@apple.com>,Justin Wood <woody@apple.com>, Dallas De Atley
                            <deatley@apple.com>,Victor Alexander <valexander@apple.com>, Matt
                            Hoppa <mhoppa@apple.com>,Cyrus Irani <cirani@apple.com>, Darin Adler
                            <darin@apple.com>,Michael Jurewitz <jury@apple.com>, Paul Chinn
                            <pchinn@apple.com>,Ravi Pherwani <rpherwani@apple.com>
                      To: Henry Choi <hchoi@apple.com>
             Attachment: PastedGraphic-2.png
             Attachment: ka-boom.jpeg
                    Date: Wed, 16 Apr 2014 18:51:27 -0700

           Yes all users with 6.0 and older can’t make FaceTime any longer…

           Here is the drop on the Relay we are using:



           It started exactly at 4pm which is midnight GMT.

           So our users on Sundance and before are basically screwed ? (for lack of a better word) and they
           represented ~30% of our relay traffic.

           Lionel

           --

           � Lionel Gentil

           iTunes Site Reliability Engineering

           On Apr 16, 2014, at 6:11 PM,4/16/14, Henry Choi <hchoi@apple.com> wrote:

           + Louis Chabardes <lac@apple.com>, Lionel Gentil <lgentil@apple.com>, Amol Pattekar
           <pattekar@apple.com>, Gokul Thirumalai <gthirumalai@apple.com>




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           Thanks for the updates, Jacques, Andrew!

           hc

           On Apr 16, 2014, at 5:54 PM, Jacques Vidrine <nectar@apple.com> wrote:

            We moved beyond the validity period almost two hours ago …



            On 2014-04-16, at 17:39, Andrew R. Whalley <arw@apple.com> wrote:

            Well, today’s the day!
            Adding Henry Choi, who’s seeming some failures server side. Henry, have you got any
            details?

            Andrew

            On Apr 9, 2014, at 7:24, Erik Neuenschwander <erikn@apple.com> wrote:

            Thanks.




                    Anyone disagree?

            I have a good 50+ e-mails on this, which has probably been spam to several of you from the
            original Fall effort, but represents a lot of work and attention. Thanks to everyone who helped
            predict the non-apocalypse!

            TTFN
            -N

            On Apr 8, 2014, at 5:54 PM, Alex Nedich <anedich@apple.com> wrote:
             Here are Ravi's results, overall we did not see any issues.




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             Testing details below:




             On Apr 8, 2014, at 3:23 PM, george <george lin@apple.com> wrote:



             On Apr 8, 2014, at 3:21 PM, Dave Rahardja <rahardja@apple.com> wrote:




             Credit: Ravi for bringing this up.

             On Apr 7, 2014, at 4:35 PM, Alex Nedich <anedich@apple.com> wrote:
             Yes, let's set up a conference call and go over what's needed.

             Ping us when you're ready.

             -Alex

             Sent from my iPhone

             On Apr 7, 2014, at 4:11 PM, "Sam Summerlin" <sam@apple.com> wrote:

             Hi Erik-
                                                                                                 but I'm
             waiting for confirmation from someone who's also out of the office today.

             Alex and Sabita, I will need to put you and/or Pet in touch with one or more of our support




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             engineers who manage these systems. Should we follow up off line?

             - Sam

             On Apr 7, 2014, at 5:11 PM, Erik Neuenschwander <erikn@apple.com> wrote:

             + Sabita and Alex, since Pete's out.


             TTFN
             -N

             On Apr 7, 2014, at 9:33 AM, Katherine Kojima <kkojima@apple.com> wrote:
             On Apr 5, 2014, at 2:05 PM, Sam Summerlin <sam@apple.com> wrote:

              Hi Pete-




              - Sam

              On Apr 4, 2014, at 10:14 PM, Peter Rosenblum <rosenblum@apple.com> wrote:

              + Sam




              Thanks,
              Pete

              On Apr 2, 2014, at 4:41 PM, Jacques Vidrine <nectar@apple.com> wrote:




               Finally, let me just voice my concern here. Maybe someone can talk me off the ledge by
               convincing me this is not as big a deal as I think.

               It seems like the worst case scenario is that 15 days from now, hordes of employees of




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               some medium to large companies will show up for their first day of work, and not be able
               to enroll their shiny new iPhone. Their IT department will waste a day or two trying to
               figure out what is wrong, call their MDM vendor, who will have no real workaround.

               Cheers,
               --
               Jacques




               On 2014-04-02, at 12:28, Erik Neuenschwander <erikn@apple.com> wrote:




               TTFN
               -N

               On Apr 2, 2014, at 11:34 AM, Jacques Vidrine <nectar@apple.com> wrote:

               On 2014-04-02, at 10:40, Dave Rahardja <rahardja@apple.com> wrote:
               Still trying to
               understand…

               Hope I can help :-)




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               Is this correct?

               Cheers,
               --
               Jacques

                   =================

                     Katherine Kojima

                 iOS Program, Embedded
                        Core OS

                    kkojima@apple.com

                   =================

               Dave Rahardja

               rahardja@apple.com




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